            Case 3:17-cv-03615-VC Document 243 Filed 10/15/20 Page 1 of 6



 1   AMERICAN CIVIL LIBERTIES UNION                      ACLU FOUNDATION
     FOUNDATION OF NORTHERN CALIFORNIA                   IMMIGRANTS’ RIGHTS PROJECT
 2   WILLIAM S. FREEMAN (SBN 82002)                      STEPHEN B. KANG (SBN 292280)
     SEAN RIORDAN (SBN 255752)                           39 Drumm Street
 3   39 Drumm Street                                     San Francisco, CA 94111
     San Francisco, CA 94111                             Telephone: (415) 343-0770
 4   Telephone: (415) 621-2493                           Facsimile: (212) 395-0950
     Facsimile: (415) 255-8437                           E-mail: skang@aclu.org
 5   Email: wfreeman@aclunc.org
             sriordan@aclunc.org                         NEW YORK CIVIL LIBERTIES UNION
 6                                                       FOUNDATION
     COOLEY LLP                                          CHRISTOPHER DUNN
 7   MARTIN S. SCHENKER (SBN 109828)                     AMY BELSHER
     ASHLEY K. CORKERY (SBN 301380)                      JESSICA PERRY
 8   EVAN G. SLOVAK (SBN 319409)                         125 Broad Street, 19th Floor
     101 California Street, 5th Floor                    New York, NY 10004
 9   San Francisco, CA 94111                             Telephone: (212) 607-3300
     Telephone: (415) 693-2000                           Facsimile: (212) 607-3318
10   Facsimile: (415) 693-2222                           Email: dcunn@nyclu.org
     Email: mschenker@cooley.com                                abelser@nyclu.org
11          acorkery@cooley.com                                 jperry@nyclu.org
            eslovak@cooley.com
12
     LAW OFFICES OF HOLLY S. COOPER
13   HOLLY S. COOPER (SBN 197626)
     P.O. Box 4358
14   Davis, CA 95617
     Telephone: (530) 574-8200
15   Facsimile: (530) 752-0822
     Email: hscooper@ucdavis.edu
16
     Attorneys for Plaintiff
17

18
                                       UNITED STATES DISTRICT COURT
19                                    NORTHERN DISTRICT OF CALIFORNIA
                                          SAN FRANCISCO DIVISION
20

21   Ilsa Saravia, as next friend for A.H., a            Case No. 3:17-cv-03615-VC
     minor, and on behalf of herself individually
22   and others similarly situated,                      Honorable Vince Chhabria

23                       Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                         PLAINTIFF’S MOTION FOR
24            v.                                         PRELIMINARY APPROVAL OF
                                                         PROPOSED CLASS SETTLEMENT
25    William Barr, Attorney General, et al.,

26                       Defendants.

27

28
                                                                [PROPOSED] ORDER GRANTING PRELIMINARY
                                                    1.          APPROVAL OF PROPOSED CLASS SETTLEMENT
                                                                              CASE NO. 3:17-CV-03615-VC
          Case 3:17-cv-03615-VC Document 243 Filed 10/15/20 Page 2 of 6



 1

 2          Plaintiff Ilsa Saravia has filed a Motion for Preliminary Approval of the class action
 3   settlement reached with Defendant William Barr (“Government”), a hearing on which was held on
 4   October 15, 2020. The Court has carefully considered the Settlement Agreement together with all
 5   exhibits thereto, all the filings related to the Settlement, the arguments of counsel, and the record in
 6   this case. The Court hereby gives its preliminary approval of the Settlement; finds that the
 7   Settlement and Settlement Agreement are sufficiently fair, reasonable and adequate to allow
 8   dissemination of notice of the Settlement to the Settlement Class and to hold a Fairness Hearing;
 9   orders the Class Notice be sent to the Settlement Class in accordance with the Settlement Agreement
10   and this Order; and schedules a Fairness Hearing to determine whether the proposed Settlement is
11   fair, adequate and reasonable.
12
            IT IS HEREBY ORDERED THAT:
13
            1.      The Settlement Agreement is hereby incorporated by reference in this Order, and all
14
     terms or phrases used in this Order shall have the same meaning as in the Settlement Agreement.
15
            2.      The Court preliminarily approves the Settlement and Settlement Agreement, finding
16
     that the terms of the Agreement are fair, reasonable, and adequate, and within the range of possible
17
     approval and sufficient to warrant providing notice to the Settlement Class.
18
             3.      Pursuant to Fed. R. Civ. P. 23(a) and (b)(2), and (e), the Court certifies, for
19
     settlement purposes only, the following Settlement Classes comprised of Unaccompanied minors
20
     who were detailed by the Government, released by the Office of Refugee Resettlement (“ORR”)
21
     to a parent or sponsor (“Sponsored UCs”), and subsequently rearrested and detained by the
22
     Government on allegations of gang affiliation:
23

24                   a.     “[A]ll noncitizen minors meeting the following criteria: (1) the noncitizen

25                          minor came to the United States as an unaccompanied minor; (2) the

26                          noncitizen minor was previously detained in ORR custody and then

27                          released by ORR to a sponsor; and (3) the noncitizen minor has been or will

28                          be rearrested by DHS on the basis of a removability warrant based in whole

                                                                   [PROPOSED] ORDER GRANTING PRELIMINARY
                                                      2.           APPROVAL OF PROPOSED CLASS SETTLEMENT
                                                                                 CASE NO. 3:17-CV-03615-VC
         Case 3:17-cv-03615-VC Document 243 Filed 10/15/20 Page 3 of 6



 1                         or in part on allegations of gang affiliation. This class expressly excludes
 2                         arrests of noncitizen minors who already are subject to final orders of
 3                         removal.
 4          4.      The Court finds, for settlement purposes only, that the Action may be maintained
 5   as a class action on behalf of the Settlement Class because:
 6                  a.     Numerosity: Class Counsel estimates that over forty children have received
 7                         Saravia hearings and many others have benefitted from the deterrent effect
 8                         of the hearings. This satisfies the Rule 23(a)(1) numerosity requirement.
 9                  b.     Commonality: The threshold for commonality under Rule 23(a)(2) is not high
10                         and a single common issue will suffice. Plaintiff alleges, among other things,
11                         that the Claims 1-3 Settlement Class raises a common question of whether
12                         the Government violates the Fifth Amendment’s Due Process Clause and
13                         other applicable federal laws when it seeks to rearrest Sponsored UCs based
14                         in whole or in part on allegations of gang affiliation. Similarly, the Claim 4
15                         Subclass turned on whether the Government uniformly applied government
16                         policies to all Class Members. These issues are common to the Settlement
17                         Class.
18                  c.     Typicality. All class members are at risk of the same injury and the action
19                         is not based on conduct unique to the named Plaintiff.             Therefore
20                         Plaintiff’s claims are typical of the claims of the Settlement Class
21                         Members and satisfy Rule 23(a)(3).
22
                    d.     Adequacy: There are no conflicts of interest between Plaintiff and Settlement
23
                           Class members and Plaintiff has retained competent counsel to represent the
24
                           Settlement Class. Class Counsel regularly engage in complex litigation
25
                           similar to the present case and have dedicated substantial resources to the
26
                           prosecution of this matter. The adequacy requirement is satisfied.
27
                    e.     Predominance and Superiority: There is predominance and superiority. A
28
                                                                    [PROPOSED] ORDER GRANTING PRELIMINARY
                                                    3.              APPROVAL OF PROPOSED CLASS SETTLEMENT
                                                                                  CASE NO. 3:17-CV-03615-VC
          Case 3:17-cv-03615-VC Document 243 Filed 10/15/20 Page 4 of 6



 1                           class action is superior to other available methods for the fair and efficient
 2                           adjudication of this controversy. The common legal and factual issue listed
 3                           in the preliminary approval papers predominate over all other issues.
 4                           Resolution of the common question constitutes a significant part of Plaintiff’s
 5                           and Settlement Class Members’ claims.
 6          5.      The Court appoints as class representatives, for settlement purposes only, Plaintiff
 7   Ilsa Saravia. The Court finds, for settlement purposes only, that Plaintiff will adequately represent
 8   the Settlement Class.
 9          6.      Pursuant to Federal Rule of Civil Procedure 23(g), and for settlement purposes only,
10   the Court designates as Class Counsel the law firm of Cooley LLP. The Court preliminarily finds
11   that, based on the work Class Counsel have done identifying, investigating, and prosecuting the
12   claims in this action; Class Counsel’s experience in handling class actions and claims of this type
13   asserted in this Action; Class counsel’s knowledge of the applicable law; and the resources Class
14   Counsel have and will commit to representing the class, that Class Counsel have represented and
15   will represent the interests of the Settlement Class fairly and adequately.
16
            7.      The Court finds that the proposed Class Notice and the proposed plan of
17
     distribution of the Class Notice meets the requirements of Federal Rule of Civil Procedure
18
     23(c)(2)(B), and hereby directs Plaintiff to proceed with the notice distribution in accordance with
19
     the terms of the Agreement.
20
            8.      Any Settlement Class Members who wishes to opt out from the Agreement must
21
     do so within 60 days of the Mailed Notice Date and in accordance with the terms of the Agreement.
22
            9.      Any Settlement Class Members who wishes to object to the Agreement must do so
23
     within 60 days of the Mailed Notice Date and in accordance with the terms of the Agreement.
24
            10.     The Court finds that the Notice plan, including the form, content, and method of
25
     dissemination of the Class Notice to Settlement Class Members as described in the Settlement
26
     Agreement, (i) is the best practicable notice; (ii) is reasonably calculated, under the circumstances,
27
     to apprise Settlement Class Members of the pendency of the lawsuit and the Settlement and of
28
                                                                   [PROPOSED] ORDER GRANTING PRELIMINARY
                                                      4.           APPROVAL OF PROPOSED CLASS SETTLEMENT
                                                                                 CASE NO. 3:17-CV-03615-VC
          Case 3:17-cv-03615-VC Document 243 Filed 10/15/20 Page 5 of 6



 1   their right to object to or exclude themselves from the proposed Settlement;
 2          (iii) is reasonable and constitutes due, adequate, and sufficient notice to all persons entitled
 3   to receive notice; and (iv) meets all applicable requirements of Federal Rule of Civil Procedure 23
 4   and due process.
 5          11.     The Court approves the procedures set forth in the Settlement Agreement and the
 6   Notice of Settlement of Class Action for exclusions from and objections to the Settlement.
 7          12.     The Court directs that a hearing be scheduled on                           , 2020 at
 8                  a.m./p.m. (the “Fairness Hearing”) to assist the Court in determining whether the
 9   Settlement is fair, reasonable and adequate; whether Final Judgment should be entered dismissing
10   with prejudice Defendants in the above-captioned action. Plaintiff shall file a motion for final
11   approval of the Settlement no later than 14 days before the Fairness Hearing.
12
            13.     Plaintiff may file motions for attorneys’ fees and costs and has represented that
13
     the parties intend to negotiate fees and costs without the need for motion practice. Should motion
14
     practice prove necessary, Plaintiff’s motion for fees and costs shall be filed at a date and time
15
     consistent with the deadlines set forth in the Equal Access to Justice Act. See 28 U.S.C. § 2412(d).
16
            14.     Neither the Settlement, nor any exhibit, document or instrument delivered
17
     thereunder shall be construed as or deemed to be evidence of an admission or concession by
18
     Defendants of an interpretation of, any liability or wrongdoing by Defendants, or of the truth of
19
     any allegations asserted by Plaintiff, Settlement Class Members or any other person.
20
            15.     If the Settlement is not finally approved, or the Effective Date does not occur, or the
21
     Settlement is terminated under its terms, then (a) all parties will proceed as if the Settlement (except
22
     those provisions that, by their terms, expressly survive disapproval or termination of the
23
     Settlement) had not been executed and the related orders and judgment had not been entered,
24
     preserving in that event all of their respective claims and defenses in the action; and (b) all releases
25
     given will be null and void. In such an event, this Court’s orders regarding the Settlement, including
26
     this Preliminary Approval Order, shall not be used or referred to in litigation for any purpose.
27
     Nothing in the foregoing paragraph is intended to alter the terms of the Settlement Agreement with
28
                                                                   [PROPOSED] ORDER GRANTING PRELIMINARY
                                                      5.           APPROVAL OF PROPOSED CLASS SETTLEMENT
                                                                                 CASE NO. 3:17-CV-03615-VC
Case 3:17-cv-03615-VC Document 243 Filed 10/15/20 Page 6 of 6
